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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 MICHIGAN DEPARTMENT OF
 ENVIRONMENTAL QUALITY,

           Plaintiff,                            Case No. 1:18−cv−39

     v.                                          Hon. Janet T. Neff

 WOLVERINE WORLD WIDE, INC.,

           Defendant.
                                           /



                              NOTICE OF HEARING


 TAKE NOTICE that a hearing has been rescheduled as set forth below:

 Type of hearing(s):    Summary Jury Trial
                        January 8, 2020 09:00 AM
 Date/Time:             (previously set for 11/18/2019 at 9:00 AM)
 Judge:                 Janet T. Neff
 Place/Location:        401 Federal Building, Grand Rapids, MI

 Trial submissions shall be jointly filed not later than December 26, 2019. Counsel
 shall be present for an in−chambers conference one−half hour prior to the start
 of trial.

                                               JANET T. NEFF
                                               United States District Judge

 Dated: November 12, 2019              By:      /s/ Rick M. Wolters
                                               Case Manager
